






















In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-04-00042-CV
______________________________


PILGRIM'S PRIDE CORPORATION, Appellant
Â&nbsp;
V.
Â&nbsp;
RONNIE D. DOUTHITT AND 
ST. PAUL FIRE AND MARINE INSURANCE, Appellees


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

On Appeal from the 76th Judicial District Court
Titus County, Texas
Trial Court No. 28059


Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Chief Justice Morriss


MEMORANDUM OPINION

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Pilgrim's Pride Corporation has filed a motion to dismiss its appeal.  Pursuant to Tex. R.
App. P. 42.1, the motion is granted.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We dismiss the appeal.
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Josh R. Morriss, III
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Chief Justice

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;July 26, 2004
Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;July 27, 2004



e showing the defendant's guilt.  See Tex. Code
Crim. Proc. Ann. art. 1.15 (Vernon Supp. 2002).  Evidence is sufficient under Article 1.15 if it
embraces every essential element of the offense charged and establishes the defendant's guilt.  See
Stone v. State, 919 S.W.2d 424, 427 (Tex. Crim. App. 1996).  A judicial confession alone is usually
sufficient to satisfy the requirements of Article 1.15, but a judicial confession that omits an element
of the offense is insufficient to support a guilty plea.   

	An exception to this rule provides that if the judicial confession contains a "catch-all" phrase
that the defendant is guilty "as charged in the indictment," the confession is sufficient evidence to
support the conviction even where an element of the offense has been omitted.  See Snyder v. State,
629 S.W.2d 930, 932 (Tex. Crim. App. 1982).  The relevant offense of aggravated sexual assault on
a child is defined by Tex. Pen. Code Ann. § 22.021(a)(B)(ii), (v).  Subsection (ii) criminalizes
penetration of the mouth of a child by the sexual organ of the actor, while subsection (v) criminalizes
causing the mouth of a child to contact a sexual organ.

	In this case, counsel correctly points out that Teixeira did not admit in his statement that his
genitals either touched or penetrated the victim's mouth.  However, Teixeira  signed a judicial
confession stating that he had committed the offense as set out in the indictment.	

	This is clearly some evidence in support of the verdict; thus, the legal sufficiency contention
fails.  Under the neutral review required for factual sufficiency, we also find from this record that
the evidence showing he is not guilty of the charged offense is not so overwhelming as to require us
to find that the evidence is factually insufficient to support his plea of guilty.  The contention of error
is overruled.

	Teixeira next contends that an oral amendment of the indictment at the time of trial was
ineffective.  The State asked to change the word "penetration" to "contact" in count two of the
indictment.  The trial court granted the motion.  

	The court has held that physical interlineation on the original indictment is acceptable, but
not the exclusive means of effecting an amendment to the indictment.  For example, the State may
proffer, for the trial court's approval, an amended version of a photocopy of the original indictment,
which if approved should then be incorporated into the record under the direction of the court under
Tex. Code Crim. Proc. Ann. art. 28.11 (Vernon 1989), with the knowledge and affirmative assent
of the defense.  The photocopy then becomes the "official" indictment in the case.  Riney v. State,
28 S.W.3d 561, 565-66 (Tex. Crim. App. 2000).

	In this case, it appears that when this record was prepared for appeal, the district clerk did
not copy the actual indictment for transmission to this court as part of the official record.  The State
has informed this court that the original indictment was scanned into electronic records at the time
of its filing and that the district clerk sent us a copy of the scanned version as part of the official
record.  We have now received a supplemental record containing a photocopy of the paper
indictment, which was changed by physical interlineation at trial.  Our record now contains a
photocopy of the paper indictment which reflects that the wording was physically changed by the
trial court.  Error has not been shown.

	The remaining contentions of error in this case are that the trial court erred by failing to
consider the full range of punishment, by allowing Gayle Burress to testify as an expert, and by not
providing Teixeira effective assistance of counsel at trial.  Those arguments are in every respect
identical to the contentions raised in the companion appeal.  For the reasons stated in that appeal,
cause number 06-01-00194-CR, we likewise rule on those contentions in favor of the State in this
appeal.

	The judgment of the trial court is affirmed.



						Ben Z. Grant

						Justice


Date Submitted:	November 6, 2002

Date Decided:		November 7, 2002


Do Not Publish
1. Tex. Pen. Code Ann. Â§ 22.021 (Vernon Supp. 2002).


